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Michael Cantrell

From:                              Michael Cantrell
Sent:                              Friday, April 10, 2020 2:34 PM
To:                                'aschultz@rodey.com'; 'jburnett@laveyandburnett.com'; 'josh@greenandgillispie.com';
                                   'mstambaugh@rodey.com'; 'gerrysch@b-s-m-law.com';
                                   'mmiller@americanhumanist.org'; 'patrick@ffrf.org'; Nicholas Bronni; Vincent Wagner;
                                   Dylan Jacobs; William C. Bird III; 'gary.sullivan@sos.arkansas.gov';
                                   'hsasser@firstliberty.org'; 'mberry@firstliberty.org'; 'lepatterson@firstliberty.org';
                                   'matt@kezhaya.law'; 'sonia@kezhaya.law'; Josie Graves; 'stu.dehaan@gmail.com'
Subject:                           RE: Discovery Matters - Cave v. Thurston

Follow Up Flag:                    Follow up
Flag Status:                       Flagged


Matthew,

Good afternoon. Over three weeks ago, I attempted to confer with you concerning a timeframe for your production of
items that the Court ordered you to produce. I have received no communication from you concerning these matters in
the six weeks since the Court’s March 1 order. This brings us to somewhere close to 10 months since our requests were
made.

As you know from the Court’s order and my March 17 good‐faith correspondence, the Court ordered you to produce the
following items:

       current bylaws, operating agreements, and analogous documents for the Satanic Temple and its affiliates, DE
        116 at 20;
       state and federal tax returns for 2015, 2016, 2017, and 2018 for the Satanic Temple and its affiliates, DE 116 at
        21‐24;
       information and documents responsive to Interrogatory No. 7 and RFP No. 7 relating to modifications to the
        Baphomet statue, DE 116 at 27; and
       the name, case number, and jurisdiction for each case, civil or criminal, in which either the Satanic Temple or
        Mr. Misicko has been a party since 2013, DE 116 at 29.

Further, you will recall that the Court ordered that all interrogatory responses must be signed within 14 days from the
entry of its March 1, 2020, order. As of today—April 10, 2020—Defendant still has not received any signed responses.

When can we expect to receive these items?

As for your Wednesday email regarding your requests, I assume that you are simply unaware that, due to Covid‐19, the
Attorney General’s offices have been closed for the past four weeks. In particular, I have been locked out and unable to
access my office and many of my files since a day or two after Doug Misicko’s deposition. This closure has significantly
handicapped our work.

Even so, we served timely responses and objections to your requests, and Defendant stands by those responses and
objections. Further, Defendant has timely made all appropriate disclosures in accordance with the Rules. Without
waiving and subject to the objections previously stated, see below.

As for your client’s profit motive, a simple Google search is sufficient to turn up several related items. See below. We
discussed all of the referenced individuals during the Satanic Temple and Doug Misicko depositions.
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        “The Struggle for Justice is Ongoing,” available at https://medium.com/@JexBlackmore/the‐struggle‐for‐justice‐
        is‐ongoing‐6df38f8893db
       “Why I’m Leaving The Satanic Temple,” available at https://medium.com/@emmastory/why‐im‐leaving‐the‐
        satanic‐temple‐528bbc06432b
       “As Witness and Measure Taken, To Pronounce: The Satanic Temple — My Experience,” available at:
        https://medium.com/@SistersSatanic/as‐ witness‐and‐measure‐taken‐to‐pronounce‐the‐satanic‐temple‐my‐
        experience‐ a1400928656f
       “Mary Doe Speaks: Her Story — The Satanic Temple, a Case Experience,” available at
        https://medium.com/@SistersSatanic/mary‐doe‐speaks‐her‐ story‐the‐satanic‐temple‐a‐case‐experience‐
        e13e965127c6
       “Yet Another Quitting The Satanic Temple Post (YAQTSTP) Updated: New Information about Adam Parfrey,”
        available at https://medium.com/@iNerdGirl/yet‐ another‐quitting‐the‐satanic‐temple‐post‐yaqtstp‐
        ea4ad9a49c3d
       S.M.A.R.T., Ritual Abuse Pages, available at https://ritualabuse.us/ritualabuse/grey‐ faction‐satanic‐temple‐and‐
        lucien‐greaves‐fact‐sheet/

Our work is continuing, and I hope to get more documents to you. In the meantime, I hope to hear from you concerning
production of the items the Court’s March 1 order directed you to produce.

Regards,

Mike

Michael A. Cantrell
Assistant Solicitor General
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From: Michael Cantrell <michael.cantrell@arkansasag.gov>
Sent: Tuesday, March 17, 2020 5:40 PM
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'hsasser@firstliberty.org' <hsasser@firstliberty.org>; 'mberry@firstliberty.org' <mberry@firstliberty.org>;
'lepatterson@firstliberty.org' <lepatterson@firstliberty.org>; 'matt@kezhaya.law' <matt@kezhaya.law>;
'sonia@kezhaya.law' <sonia@kezhaya.law>; 'stu.dehaan@gmail.com' <stu.dehaan@gmail.com>
Subject: Discovery Matters ‐ Cave v. Thurston

Matthew,

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Good afternoon. As you know, in the Court’s March 1, 2020 order (as clarified during the March 12, 2020 hearing), the
Court has ordered the Satanic Temple to produce various items, including:

(1) current bylaws, operating agreements, and analogous documents for the Satanic Temple and its affiliates, DE 116 at
20;
(2) state and federal tax returns for 2015, 2016, 2017, and 2018 for the Satanic Temple and its affiliates, DE 116 at 21‐24;
(3) information and documents responsive to Interrogatory No. 7 and RFP No. 7 relating to modifications to the
Baphomet statue, DE 116 at 27; and
(4) the name, case number, and jurisdiction for each case, civil or criminal, in which either the Satanic Temple or Mr.
Misicko has been a party since 2013, DE 116 at 29.

Please advise as to a specific timeframe when Defendant can expect to receive these items.

Further, you will recall that the Court has ordered that all interrogatory responses must be signed within 14 days from
the entry of its March 1, 2020, order. As of today, Defendant has not received signed responses from any of the
Intervenors. Please provide these as soon as possible.

Regards,

Mike

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